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7    Attorneys for Plaintiffs
8                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
9

10
     APRIL CASILLAS, individually and as the             Case No. 3:23-cv-02199-AMO
11   successor-in-interest OF BEN CASILLAS JR;           (Consolidated with 3:23-cv-01609-AMO)
     AND APRIL CASILLAS, AS GUARDIAN AD
12
     LITEM FOR ROCKY CASILLAS, A MINOR                   JOINT STATUS REPORT
13   AND VINA CASILLAS A MINOR; SAUL                     REGARDING ALTERNATIVE
     SANCHEZ; and LILLIAN SOTO,                          DISPUTE RESOLUTIONS
14
                      Plaintiffs,                        Honorable Aracelli Martinez-Olguin
15
            vs.
16
     BAYER CORPORATION and DOES 1 to 100,
17   inclusive,
18
                    Defendants.
19   BEN CASILLAS JR, by and through his
     successor-in-interest, APRIL CASILLAS; APRIL
20   CASILLAS, AS GUARDIAN AD LITEM FOR
     ROCKY CASILLAS, A MINOR AND VINA
21
     CASILLAS A MINOR,
22
                      Plaintiffs,
23          vs.
24   BAYER CORPORATION and DOES 1 to 100,
25
     inclusive,

26                    Defendants.

27

28
                                                   -1-
                  JOINT STATUS REPORT REGARDING ALTERNATIVE DISPUTE RESOLUTIONS
                        Case No. 3:23-cv-02199-AMO (Consolidated with 3:23-cv-01609-AMO)
              Case 3:23-cv-02199-AMO Document 20 Filed 10/30/23 Page 2 of 2



1
            The Court ordered the Parties to submit a joint status report regarding the status of
2
     alternative dispute resolution by October 30, 2023.
3
              The Parties had previously set a mediation for November 27, 2023, with Bruce Edwards,
4
     an experienced San Francisco Mediator. Plaintiffs’ Employer Anderson Commercial Flooring
5
     was just brought in as a defendant per contractual indemnity. Thus, the mediation is now being
6
     rescheduled to take place between December 15, 2023 and January 15 2023 so that all insurance
7
     principals can attend the mediation.
8

9

10    Dated: October 30, 2023               ARNS DAVIS LAW

11

12
                                            By:___________________________
                                            ROBERT S. ARNS
13                                          Attorneys for Plaintiffs
                                            BEN CASILLAS JR; APRIL CASILLAS;                       SAUL
14                                          SANCHEZ; AND LILLIAN SOTO
15
      Dated: October 30, 2023               SHOOK, HARDY & BACON
16
                                            By: ___________________________
                                                /s/ Edward B. Gaus
17                                          EDWARD B. GAUS
                                            Attorneys for Defendant
18
                                            BAYER HEALTHCARE LLC,
19

20
                                              ATTESTATION
            I attest, pursuant to Local Rule 5-1(i)(3), that all parties to this stipulation have concurred
21
     in the filing of this document.
22

23    Dated: October 30, 2023               ARNS DAVIS LAW
24

25
                                            By:___________________________
                                            SHOUNAK S. DHARAP
26                                          Attorneys for Plaintiffs
                                            BEN CASILLAS JR; APRIL CASILLAS;                       SAUL
27                                          SANCHEZ; AND LILLIAN SOTO
28
                                                     -2-
                JOINT STATUS REPORT REGARDING ALTERNATIVE DISPUTE RESOLUTIONS
                      Case No. 3:23-cv-02199-AMO (Consolidated with 3:23-cv-01609-AMO)
